   2:18-mn-02873-RMG           Date Filed 12/04/23      Entry Number 4146         Page 1 of 45




November 30, 2023


In re: Aqueous Film-Forming Foams Products Liability Litigation
c/o DuPont Notice Administrator
1650 Arch Street, Suite 2210
Philadelphia, PA 19103


RE:    NOTICE OF INTENTION TO OPT OUT and REQUEST FOR EXCLUSION

       In re: Aqueous Film-Forming Foams Products Liability Litigation,
       District of South Carolina (MDL No. 2-18-mn-2873-RMG)

       City of Camden, et al. v. E.I. DuPont De Nemours and Company, et al.,
       District of South Carolina (2:23-cv-03230-RMG)

Dear DuPont Notice Administrator:

The City of Everett, Washington (Public Works) intends to opt out and requests to be excluded
from the Class Action Settlement Agreement between Class Representatives, individually and on
behalf of the Settlement Class Members, and defendants The Chemours Company, The Chemours
Company FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and
Company n/k/a EIDP, Inc. in the above-referenced matter.

Please find enclosed the following: (a) letter from the City of Everett; (b) Notice of Intention to
Opt Out; (c) Request for Exclusion; (d) Affidavit of David Hall; and (e) Declaration of Christopher
M. Huck.

If you have any questions about Everett’s intent to opt out and request for exclusion, please contact
me as Everett’s outside counsel.

                                      Sincerely,

                                      GOLDFARB & HUCK ROTH RIOJAS, PLLC



                                      Christopher M. Huck
   2:18-mn-02873-RMG          Date Filed 12/04/23   Entry Number 4146    Page 2 of 45
November 30, 2023
Page 2




Cc:    In Re: Aqueous Film-Forming Foams Products Liability Litigation
       c/o Notice Administrator
       1650 Arch Street, Suite 2210
       Philadelphia, PA 19103

       AFFF Public Water System Claims
       PO Box 4466
       Baton Rouge, Louisiana 70821

       Dustin Mire
       Eisner Advisory Group
       8550 United Plaza Boulevard, Suite #1001
       Baton Rouge, LA

       Matthew Garretson
       Wolf/Garretson LLC
       P.O. Box 2806
       Park City, UT 8406

       Matthew Garretson
       Wolf/Garretson LLC
       672 Woodside Avenue
       Park City, UT 84060

       The Chemours Company
       Office of the General Counsel
       1007 Market Street
       Wilmington, DE 19801
       Attn: Kristine M. Wellman

       Jeffrey M. Wintner
       Graham W. Meli
       Wachtell, Lipton, Rosen & Katz
       51 West 52nd Street
       New York, NY 10019

       DuPont de Nemours, Inc.
       974 Centre Rd.
       Wilmington, DE 19806
       Attn: Erik T. Hoover

       Kevin T. Van Wart
       Kirkland & Ellis LLP
       300 North Lasalle
       Chicago, IL 60654

       Corteva Inc.
       974 Centre Road Building 735
       Wilmington, DE 19805
       Attn: Cornel B. Fuerer
   2:18-mn-02873-RMG        Date Filed 12/04/23   Entry Number 4146   Page 3 of 45
November 30, 2023
Page 3




       EIDP, Inc.
       974 Centre Road Building 735
       Wilmington, DE 19805
       Attn: Thomas A. Warnock

       Michael T. Reynolds
       Cravath, Swaine & Moore LLP
       825 Eighth Avenue
       New York, NY 10019

       Scott Summy
       Baron & Budd, P.C.
       3102 Oak Lawn Ave, ste. 1100
       Dallas, Texas 75219

       Michael A. London
       Douglas & London
       59 Maiden Lane, 6th floor
       New York, NY 10038

       Paul J. Napoli
       Napoli Shkolnik
       1302 Av. Ponce De Leon
       San Juan, Puerto Rico 00907

       Paul J. Napoli
       Napoli Shkolnik
       360 Lexington Avenue
       11th Floor
        New York, NY 10017

       Elizabeth A. Fegan
       Fegan Scott
       150 S Wacker Dr, 24th Floor
       Chicago, Il 60606

       Joseph F. Rice
       Motley Rice LLC
       28 Bridgeside Blvd.
       Mount Pleasant, SC 29464
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          APPENDIX A
2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146   Page 5 of 45
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2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146   Page 8 of 45




          APPENDIX B
     2:18-mn-02873-RMG         Date Filed 12/04/23        Entry Number 4146       Page 9 of 45




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA


IN RE: AQUEOUS FILM-FORMING                     )
FOAMS PRODUCTS LIABILITY                        )       Master Docket No.
LITIGATION                                      )       2-18-mn-2873-RMG
                                                )
                                                )
                                                )       This Document Relates to:
                                                )       City of Camden, et al. v. E.I. DuPont De
                                                )       Nemours and Company (n/k/a EIDP, Inc),
                                                )       et al.,
                                                )
                                                )       Case No. 2:23-cv-03230-RMG

______________________________________________________________________________

CITY OF CAMDEN, et. al.,                        )
                                                )       Case No. 2:23-cv-03230-RMG
                       Plaintiff(s)             )
v.                                              )
                                                )
E.I. DUPONT DE NEMOURS AND                      )
COMPANY (N/K/A EIDP, INC.), ET AL.,             )
                                                )
                       Defendants.              )


                 CITY OF EVERETT, WASHINGTON (PUBLIC WORKS)
                       NOTICE OF INTENTION TO OPT OUT

        Pursuant to the Court’s Order dated August 22, 2023, the Notice of Proposed Class Action

Settlement and Court Approval Hearing, and Paragraph 9.7 of the Class Action Settlement

Agreement between Class Representatives, individually and on behalf of the Settlement Class

Members, and defendants The Chemours Company, The Chemours Company FC, LLC, DuPont

de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and Company n/k/a EIDP, Inc. in

the above-referenced matter (the “Settlement”), the City of Everett, Washington hereby provides

notice of its intention to opt out and requests to be excluded from the Settlement.



                                                    1
2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146           Page 10 of 45




                          Respectfully submitted,

                          GOLDFARB & HUCK ROTH RIOJAS, PLLC

                          By: /s/ Christopher M. Huck
                             Christopher M. Huck (WSBA #34104)
                             925 Fourth Avenue, Suite 3950
                             Seattle, Washington 98104
                             Telephone: (206) 452-0260
                             Facsimile: (206) 397-3062
                             Email: huck@goldfarb-huck.com

                          Attorneys for City of Everett, Washington




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2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146   Page 11 of 45




           APPENDIX C
     2:18-mn-02873-RMG       Date Filed 12/04/23       Entry Number 4146       Page 12 of 45




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA


IN RE: AQUEOUS FILM-FORMING                   )
FOAMS PRODUCTS LIABILITY                      )       Master Docket No.
LITIGATION                                    )       2-18-mn-2873-RMG
                                              )
                                              )
                                              )       This Document Relates to:
                                              )       City of Camden, et al. v. E.I. DuPont De
                                              )       Nemours and Company (n/k/a EIDP, Inc),
                                              )       et al.,
                                              )
                                              )       Case No. 2:23-cv-03230-RMG

______________________________________________________________________________

CITY OF CAMDEN, et. al.,                      )
                                              )       Case No. 2:23-cv-03230-RMG
                      Plaintiff(s)            )
v.                                            )
                                              )
E.I. DUPONT DE NEMOURS AND                    )
COMPANY (N/K/A EIDP, INC.), ET AL.,           )
                                              )
                      Defendants.             )


                 CITY OF EVERETT, WASHINGTON (PUBLIC WORKS)
                           REQUEST FOR EXCLUSION

        The City of Everett, Washington (“Everett”) respectfully requests to be excluded from the

Class Action Settlement Agreement between Class Representatives, individually and on behalf of

the Settlement Class Members, and defendants The Chemours Company, The Chemours Company

FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and Company

n/k/a EIDP, Inc. in the above-referenced matter (the “Settlement”).

        This Request for Exclusion is hereby made and filed pursuant to the Court’s Order dated

August 22, 2023 and the Notice of Proposed Class Action Settlement and Court Approval Hearing.



                                                  1
  2:18-mn-02873-RMG          Date Filed 12/04/23       Entry Number 4146         Page 13 of 45




       The Affidavit of David Hall (the “Hall Affidavit”), attached hereto as Exhibit 1, is provided

as proof of standing of Everett and demonstrates why Everett would be a Settlement Class Member

absent this Request for Exclusion. The Hall Affidavit includes the name the name, address,

telephone and facsimile number, and email address of David Hall. The Hall Affidavit also includes

the name, address, telephone and facsimile number, and email address for Everett.

       The Declaration of Christopher M. Huck (the “Huck Declaration”), attached hereto as

Exhibit 2, is provided to identify the name, address, telephone and facsimile number, and email

address of Everett’s undersigned outside counsel, who is filing and serving Everett’s Notice of

Intention to Opt Out and this Request for Exclusion.

       Accordingly, Everett respectfully requests that it be excluded from the Settlement.

                                     Respectfully submitted,

                                     GOLDFARB & HUCK ROTH RIOJAS, PLLC

                                     By: /s/ Christopher M. Huck
                                        Christopher M. Huck (WSBA #34104)
                                        925 Fourth Avenue, Suite 3950
                                        Seattle, Washington 98104
                                        Telephone: (206) 452-0260
                                        Facsimile: (206) 397-3062
                                        Email: huck@goldfarb-huck.com

                                     Attorneys for City of Everett, Washington




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           EXHIBIT 1
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           EXHIBIT 2
     2:18-mn-02873-RMG         Date Filed 12/04/23        Entry Number 4146       Page 19 of 45




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA


IN RE: AQUEOUS FILM-FORMING                      )
FOAMS PRODUCTS LIABILITY                         )       Master Docket No.
LITIGATION                                       )       2-18-mn-2873-RMG
                                                 )
                                                 )
                                                 )       This Document Relates to:
                                                 )       City of Camden, et al. v. E.I. DuPont De
                                                 )       Nemours and Company (n/k/a EIDP, Inc),
                                                 )       et al.,
                                                 )
                                                 )       Case No. 2:23-cv-03230-RMG

______________________________________________________________________________

CITY OF CAMDEN, et. al.,                         )
                                                 )       Case No. 2:23-cv-03230-RMG
                        Plaintiff(s)             )
v.                                               )
                                                 )
E.I. DUPONT DE NEMOURS AND                       )
COMPANY (N/K/A EIDP, INC.), ET AL.,              )
                                                 )
                        Defendants.              )


                      DECLARATION OF CHRISTOPHER M. HUCK
                   CITY OF EVERETT, WASHINGTON (PUBLIC WORKS)
                             REQUEST FOR EXCLUSION

          I, Christopher M. Huck, hereby declare under penalty of perjury in accordance with 28

U.S.C § 1746 that the following is true and correct:

          1.     I am an attorney with Goldfarb & Huck Roth Riojas, PLLC. I am one of the

attorneys from my law firm representing the City of Everett, Washington (“Everett”) in the above-

referenced matter. I am over the age of eighteen and I have personal knowledge of the facts stated

herein.

          2.     I submit this affidavit in support of Everett’s Request for Exclusion from the Class

                                                     1
  2:18-mn-02873-RMG           Date Filed 12/04/23      Entry Number 4146           Page 20 of 45




Action Settlement Agreement between Class Representatives, individually and on behalf of the

Settlement Class Members, and defendants The Chemours Company, The Chemours Company

FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and Company

n/k/a EIDP, Inc. in the above-referenced matter (the “Settlement”).

       3.      My contact information is as follows:

                      Name
                      Chrisotpher M. Huck
                      Goldfarb & Huck Roth Riojas, PLLC

                      Address
                      925 Fourth Avenue, Suite 3950
                      Seattle, WA 98110

                      Telephone Number
                      (206) 492-7393

                      Facsimile Number
                      (206) 397-3062

                      Email
                      huck@goldfarb-huck.com


       4.      My law firm has been authorized by Everett to file and serve all documents needed

for Everett to opt out and request that Everett be excluded from the Settlement.

       5.      Accordingly, pursuant to Everett’s Request for Exclusion, including the Affidavit

of David Hall, at this time Everett respectfully opts out and formally requests that Everett be

excluded from the Class Action Settlement Agreement between Class Representatives,

individually and on behalf of the Settlement Class Members, and defendants The Chemours

Company, The Chemours Company FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I.

DuPont de Nemours and Company n/k/a EIDP, Inc. in the above-referenced matter.

       I declare under penalty of perjury under the laws of the United States of America that the



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foregoing is true and correct.

       Executed this December 1, 2023 at Bainbridge Island, Washington.



                                              /s/ Christopher M. Huck
                                              Christopher M. Huck (WSBA #34104)
                                              Goldfarb & Huck Roth Riojas, PLLC




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           APPENDIX D
2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146   Page 23 of 45
2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146   Page 24 of 45
2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146   Page 25 of 45
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           APPENDIX E
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA


IN RE: AQUEOUS FILM-FORMING                      )
FOAMS PRODUCTS LIABILITY                         )       Master Docket No.
LITIGATION                                       )       2-18-mn-2873-RMG
                                                 )
                                                 )
                                                 )       This Document Relates to:
                                                 )       City of Camden, et al. v. E.I. DuPont De
                                                 )       Nemours and Company (n/k/a EIDP, Inc),
                                                 )       et al.,
                                                 )
                                                 )       Case No. 2:23-cv-03230-RMG

______________________________________________________________________________

CITY OF CAMDEN, et. al.,                         )
                                                 )       Case No. 2:23-cv-03230-RMG
                        Plaintiff(s)             )
v.                                               )
                                                 )
E.I. DUPONT DE NEMOURS AND                       )
COMPANY (N/K/A EIDP, INC.), ET AL.,              )
                                                 )
                        Defendants.              )


                      DECLARATION OF CHRISTOPHER M. HUCK
                   CITY OF EVERETT, WASHINGTON (PUBLIC WORKS)
                             REQUEST FOR EXCLUSION

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referenced matter. I am over the age of eighteen and I have personal knowledge of the facts stated

herein.

          2.     I submit this affidavit in support of Everett’s Request for Exclusion from the Class

                                                     1
  2:18-mn-02873-RMG           Date Filed 12/04/23      Entry Number 4146           Page 28 of 45




Action Settlement Agreement between Class Representatives, individually and on behalf of the

Settlement Class Members, and defendants The Chemours Company, The Chemours Company

FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and Company

n/k/a EIDP, Inc. in the above-referenced matter (the “Settlement”).

       3.      My contact information is as follows:

                      Name
                      Chrisotpher M. Huck
                      Goldfarb & Huck Roth Riojas, PLLC

                      Address
                      925 Fourth Avenue, Suite 3950
                      Seattle, WA 98110

                      Telephone Number
                      (206) 492-7393

                      Facsimile Number
                      (206) 397-3062

                      Email
                      huck@goldfarb-huck.com


       4.      My law firm has been authorized by Everett to file and serve all documents needed

for Everett to opt out and request that Everett be excluded from the Settlement.

       5.      Accordingly, pursuant to Everett’s Request for Exclusion, including the Affidavit

of David Hall, at this time Everett respectfully opts out and formally requests that Everett be

excluded from the Class Action Settlement Agreement between Class Representatives,

individually and on behalf of the Settlement Class Members, and defendants The Chemours

Company, The Chemours Company FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I.

DuPont de Nemours and Company n/k/a EIDP, Inc. in the above-referenced matter.

       I declare under penalty of perjury under the laws of the United States of America that the



                                                2
  2:18-mn-02873-RMG              Date Filed 12/04/23   Entry Number 4146   Page 29 of 45




foregoing is true and correct.

       Executed this December 1, 2023 at Bainbridge Island, Washington.



                                              /s/ Christopher M. Huck
                                              Christopher M. Huck (WSBA #34104)
                                              Goldfarb & Huck Roth Riojas, PLLC




                                                 3
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA


IN RE: AQUEOUS FILM-FORMING                     )
FOAMS PRODUCTS LIABILITY                        )       Master Docket No.
LITIGATION                                      )       2-18-mn-2873-RMG
                                                )
                                                )
                                                )       This Document Relates to:
                                                )       City of Camden, et al. v. E.I. DuPont De
                                                )       Nemours and Company (n/k/a EIDP, Inc),
                                                )       et al.,
                                                )
                                                )       Case No. 2:23-cv-03230-RMG

______________________________________________________________________________

CITY OF CAMDEN, et. al.,                        )
                                                )       Case No. 2:23-cv-03230-RMG
                       Plaintiff(s)             )
v.                                              )
                                                )
E.I. DUPONT DE NEMOURS AND                      )
COMPANY (N/K/A EIDP, INC.), ET AL.,             )
                                                )
                       Defendants.              )


                 CITY OF EVERETT, WASHINGTON (PUBLIC WORKS)
                       NOTICE OF INTENTION TO OPT OUT

        Pursuant to the Court’s Order dated August 22, 2023, the Notice of Proposed Class Action

Settlement and Court Approval Hearing, and Paragraph 9.7 of the Class Action Settlement

Agreement between Class Representatives, individually and on behalf of the Settlement Class

Members, and defendants The Chemours Company, The Chemours Company FC, LLC, DuPont

de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and Company n/k/a EIDP, Inc. in

the above-referenced matter (the “Settlement”), the City of Everett, Washington hereby provides

notice of its intention to opt out and requests to be excluded from the Settlement.



                                                    1
2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146           Page 31 of 45




                          Respectfully submitted,

                          GOLDFARB & HUCK ROTH RIOJAS, PLLC

                          By: /s/ Christopher M. Huck
                             Christopher M. Huck (WSBA #34104)
                             925 Fourth Avenue, Suite 3950
                             Seattle, Washington 98104
                             Telephone: (206) 452-0260
                             Facsimile: (206) 397-3062
                             Email: huck@goldfarb-huck.com

                          Attorneys for City of Everett, Washington




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  2:18-mn-02873-RMG            Date Filed 12/04/23    Entry Number 4146           Page 32 of 45




                                 CERTIFICATE OF SERVICE

          I hereby certify that on December 4, 2023, I filed the foregoing with the Clerk of the

Court using the Court’s electronic filing system, which will send notice to all counsel of

record.

                                      By: /s/ Christopher M. Huck
                                         Christopher M. Huck (WSBA #34104)

                                      Attorneys for City of Everett, Washington




                                                3
     2:18-mn-02873-RMG       Date Filed 12/04/23       Entry Number 4146       Page 33 of 45




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA


IN RE: AQUEOUS FILM-FORMING                   )
FOAMS PRODUCTS LIABILITY                      )       Master Docket No.
LITIGATION                                    )       2-18-mn-2873-RMG
                                              )
                                              )
                                              )       This Document Relates to:
                                              )       City of Camden, et al. v. E.I. DuPont De
                                              )       Nemours and Company (n/k/a EIDP, Inc),
                                              )       et al.,
                                              )
                                              )       Case No. 2:23-cv-03230-RMG

______________________________________________________________________________

CITY OF CAMDEN, et. al.,                      )
                                              )       Case No. 2:23-cv-03230-RMG
                      Plaintiff(s)            )
v.                                            )
                                              )
E.I. DUPONT DE NEMOURS AND                    )
COMPANY (N/K/A EIDP, INC.), ET AL.,           )
                                              )
                      Defendants.             )


                 CITY OF EVERETT, WASHINGTON (PUBLIC WORKS)
                           REQUEST FOR EXCLUSION

        The City of Everett, Washington (“Everett”) respectfully requests to be excluded from the

Class Action Settlement Agreement between Class Representatives, individually and on behalf of

the Settlement Class Members, and defendants The Chemours Company, The Chemours Company

FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and Company

n/k/a EIDP, Inc. in the above-referenced matter (the “Settlement”).

        This Request for Exclusion is hereby made and filed pursuant to the Court’s Order dated

August 22, 2023 and the Notice of Proposed Class Action Settlement and Court Approval Hearing.



                                                  1
  2:18-mn-02873-RMG          Date Filed 12/04/23       Entry Number 4146         Page 34 of 45




       The Affidavit of David Hall (the “Hall Affidavit”), attached hereto as Exhibit 1, is provided

as proof of standing of Everett and demonstrates why Everett would be a Settlement Class Member

absent this Request for Exclusion. The Hall Affidavit includes the name the name, address,

telephone and facsimile number, and email address of David Hall. The Hall Affidavit also includes

the name, address, telephone and facsimile number, and email address for Everett.

       The Declaration of Christopher M. Huck (the “Huck Declaration”), attached hereto as

Exhibit 2, is provided to identify the name, address, telephone and facsimile number, and email

address of Everett’s undersigned outside counsel, who is filing and serving Everett’s Notice of

Intention to Opt Out and this Request for Exclusion.

       Accordingly, Everett respectfully requests that it be excluded from the Settlement.

                                     Respectfully submitted,

                                     GOLDFARB & HUCK ROTH RIOJAS, PLLC

                                     By: /s/ Christopher M. Huck
                                        Christopher M. Huck (WSBA #34104)
                                        925 Fourth Avenue, Suite 3950
                                        Seattle, Washington 98104
                                        Telephone: (206) 452-0260
                                        Facsimile: (206) 397-3062
                                        Email: huck@goldfarb-huck.com

                                     Attorneys for City of Everett, Washington




                                                2
  2:18-mn-02873-RMG            Date Filed 12/04/23    Entry Number 4146           Page 35 of 45




                                 CERTIFICATE OF SERVICE

          I hereby certify that on December 4, 2023, I filed the foregoing with the Clerk of the

Court using the Court’s electronic filing system, which will send notice to all counsel of

record.

                                      By: /s/ Christopher M. Huck
                                         Christopher M. Huck (WSBA #34104)

                                      Attorneys for City of Everett, Washington




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           EXHIBIT 1
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2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146   Page 39 of 45
2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146   Page 40 of 45
2:18-mn-02873-RMG   Date Filed 12/04/23   Entry Number 4146   Page 41 of 45




           EXHIBIT 2
     2:18-mn-02873-RMG         Date Filed 12/04/23        Entry Number 4146       Page 42 of 45




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA


IN RE: AQUEOUS FILM-FORMING                      )
FOAMS PRODUCTS LIABILITY                         )       Master Docket No.
LITIGATION                                       )       2-18-mn-2873-RMG
                                                 )
                                                 )
                                                 )       This Document Relates to:
                                                 )       City of Camden, et al. v. E.I. DuPont De
                                                 )       Nemours and Company (n/k/a EIDP, Inc),
                                                 )       et al.,
                                                 )
                                                 )       Case No. 2:23-cv-03230-RMG

______________________________________________________________________________

CITY OF CAMDEN, et. al.,                         )
                                                 )       Case No. 2:23-cv-03230-RMG
                        Plaintiff(s)             )
v.                                               )
                                                 )
E.I. DUPONT DE NEMOURS AND                       )
COMPANY (N/K/A EIDP, INC.), ET AL.,              )
                                                 )
                        Defendants.              )


                      DECLARATION OF CHRISTOPHER M. HUCK
                   CITY OF EVERETT, WASHINGTON (PUBLIC WORKS)
                             REQUEST FOR EXCLUSION

          I, Christopher M. Huck, hereby declare under penalty of perjury in accordance with 28

U.S.C § 1746 that the following is true and correct:

          1.     I am an attorney with Goldfarb & Huck Roth Riojas, PLLC. I am one of the

attorneys from my law firm representing the City of Everett, Washington (“Everett”) in the above-

referenced matter. I am over the age of eighteen and I have personal knowledge of the facts stated

herein.

          2.     I submit this affidavit in support of Everett’s Request for Exclusion from the Class

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Action Settlement Agreement between Class Representatives, individually and on behalf of the

Settlement Class Members, and defendants The Chemours Company, The Chemours Company

FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and Company

n/k/a EIDP, Inc. in the above-referenced matter (the “Settlement”).

       3.      My contact information is as follows:

                      Name
                      Chrisotpher M. Huck
                      Goldfarb & Huck Roth Riojas, PLLC

                      Address
                      925 Fourth Avenue, Suite 3950
                      Seattle, WA 98110

                      Telephone Number
                      (206) 492-7393

                      Facsimile Number
                      (206) 397-3062

                      Email
                      huck@goldfarb-huck.com


       4.      My law firm has been authorized by Everett to file and serve all documents needed

for Everett to opt out and request that Everett be excluded from the Settlement.

       5.      Accordingly, pursuant to Everett’s Request for Exclusion, including the Affidavit

of David Hall, at this time Everett respectfully opts out and formally requests that Everett be

excluded from the Class Action Settlement Agreement between Class Representatives,

individually and on behalf of the Settlement Class Members, and defendants The Chemours

Company, The Chemours Company FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I.

DuPont de Nemours and Company n/k/a EIDP, Inc. in the above-referenced matter.

       I declare under penalty of perjury under the laws of the United States of America that the



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foregoing is true and correct.

       Executed this December 1, 2023 at Bainbridge Island, Washington.



                                              /s/ Christopher M. Huck
                                              Christopher M. Huck (WSBA #34104)
                                              Goldfarb & Huck Roth Riojas, PLLC




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on December 4, 2023, I filed the foregoing with the Clerk of the

Court using the Court’s electronic filing system, which will send notice to all counsel of

record.

                                      By: /s/ Christopher M. Huck
                                         Christopher M. Huck (WSBA #34104)

                                      Attorneys for City of Everett, Washington




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